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 1                                                          THE HONORABLE ROBERT J. BRYAN
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 5
 6
                             UNITED STATES DISTRICT COURT
 7                     WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
 9
10            CHAO CHEN, individually and on
                                                         Case No.: 3:17-cv-05769-RJB
11            behalf of all those similarly situated,
12                                                       OPPOSITION    TO    PLAINTIFF’S
                                          Plaintiff,
                                                         MOTION    FOR    RELIEF  FROM
13                                                       DEADLINES
              v.
14
                                                         NOTED: May 11, 2018
15            THE GEO GROUP, INC., a Florida
              corporation,
16
17                                        Defendant.
18
19
20          The GEO Group, Inc. (“GEO”) opposes Plaintiff’s Motion for Relief from Deadlines and
21
     for Status Conference, ECF 73 (“Mot.”). Plaintiff seeks not only relief from his deadline to
22
     respond to GEO’s pending Motion to Deny Class Certification, ECF 69, but also to turn back the
23
24   clock to allow him to substitute himself with another plaintiff and recycle his flawed class
25
     certification motion sometime down the road. See Mot. 1.
26
            Plaintiff’s motion should be denied. First, Mr. Chen cannot show he has been diligent.
27
28   He could not have been surprised by any facts elicited during his deposition for the simple fact
29
     that he was the deponent. GEO’s questions were relevant to its theory of this case and were
30
     plainly foreshadowed by its many filings to date. To the extent Mr. Chen was surprised by the
31
32                                                                                 III BRANCHES LAW, PLLC
                                                                                           Joan K. Mell
33    GEO’S OPPOSITION TO PLAINTIFF’S MOTION FOR RELIEF FROM DEADLINE
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 1   questions, that surprise was due to his failure to disclose key information to his attorneys or his
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     attorneys’ failure to prepare him. And to the extent his counsel was surprised by his answers—
 3
     or refusals to answer—that surprise was due to their failure to investigate their own client. That
 4
 5   they had already discussed this claim with other potential representatives provides further
 6
     evidence of their failure to act diligently.
 7
             Second, Mr. Chen’s implosion during his deposition calls his counsel’s adequacy into
 8
 9   question. They chose Mr. Chen to be the face of this claim. In doing so, however, they exposed
10
     him to questions that could implicate criminal jeopardy. They have also exposed a substantial
11
     weakness in their class claim, which will still include Mr. Chen even if he steps back into the
12
13   shadows now: they are asking this Court to find that GEO not only employed an illegal alien and
14
     convicted felon, but also a man who would not deny engaging in a litany of other criminal
15
     conduct that included sexually assaulting a child, all of which are disqualifiers for employment
16
17   under federal law and the explicit terms of GEO’s contract.
18
             For these reasons, as more fully explained below, Mr. Chen’s motion should be denied.
19
                                               BACKGROUND
20
21           Last fall, Plaintiff Chao Chen filed this suit, claiming that he and all other aliens detained
22
     at the Northwest Detention Center (“NWDC”) qualify as GEO’s “employees” under Washington
23
     law when they participate in the Voluntary Work Program (“VWP”), and that they are entitled to
24
25   backpay because GEO does not pay them a minimum wage. Complaint, ECF 1. This Court
26
     denied GEO’s motion to dismiss on express and field preemption grounds, but held that GEO’s
27
     conflict-preemption argument could not be settled without factual development. See Order, ECF
28
29   28. The Court issued its scheduling order in December and amended it a few days later to
30
     include a deadline for class certification. Minute Orders, ECF 35 & 36. In compliance with the
31
32                                                                                      III BRANCHES LAW, PLLC
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 1   scheduling order, Mr. Chen moved to certify his putative class, and GEO moved to dismiss under
 2
     Rule 19 for failure to join ICE, who is indispensable to this case. Pl’s Mot for Class Cert., ECF
 3
     44; GEO’s Mot. for Dismissal For Failure To Join Indispensable Party, ECF 51 (“Rule 19
 4
 5   Mot.”). The Court denied GEO’s motion, Order, ECF 67, and Mr. Chen has now moved to
 6
     withdraw his motion for class certification, Pl.’s Notice to Withdraw, ECF 72.
 7
            GEO deposed Mr. Chen the day after oral argument on its Rule 19 motion. See generally
 8
 9   GEO’s Mot to Deny Class Cert., ECF 71, Exh. I (“Chen Depo.”). Mr. Chen’s testimony
10
     included a number of problematic admissions.         First, Mr. Chen testified that he has been
11
     unemployed for almost his entire adult life. Chen Depo., 64, 104-07. Instead of working, he was
12
13   a habitual gambler in the decade before violent felony convictions sent him to prison, and has
14
     continued his gambling since his release from ICE detention. Id. at 102, 104, 110-11, 189. He
15
     was also a methamphetamine user before his convictions. Id. at 107-08. His only current work
16
17   income comes from part-time employment at his brother’s coffee shop, which income he did not
18
     report last year. Id. at 27. He funds his current gambling partly through money his sister saved
19
     for him and partly from money his sister gives him. See Id. at 189-91.
20
21          Mr. Chen also receives public benefits. He receives food stamps, which his sister advised
22
     him how to get. Id. at 33, 83. He also receives public health benefits, which he got through the
23
     government office where his sister works. Id. at 32-33, 90-91. Mr. Chen has no disabilities that
24
25   would prevent him from working, and claims that he works in order to “keep [himself]
26
     occupied.” Id. at 83, 191.
27
            Mr. Chen also invoked his Fifth Amendment right numerous times, in response to
28
29   questions derived from GEO’s research. Id. at 128-31, 134-35. He refused to deny (1) that he
30
     had ever hurt a minor, Id. at 127; (2) that he had ever sexually assaulted a minor, Id. at 128, 134-
31
32                                                                                     III BRANCHES LAW, PLLC
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 1   35; (3) that he had ever assaulted anyone else, Id. at 128; (4) that he had ever threatened anyone
 2
     other than his confirmed victims with a weapon, Id. at 129-30; (5) that he had ever fired a gun at
 3
     anyone other than his confirmed victims, Id. at 130; and (6) that he had ever hit or assaulted any
 4
 5   of his family members, Id. at 134.
 6
            These questions were relevant for at least three reasons. First, any criminal conduct by
 7
     Mr. Chen that could be prosecuted would affect his adequacy to serve as a class representative.
 8
 9   Id. at 121. Second, Mr. Chen’s criminal past would undoubtedly affect whether he could have
10
     been employed by GEO without GEO violating the terms of its contract with ICE. Id. at 121-22.
11
     GEO’s contract requires background checks and other pre-employment suitability determinations
12
13   for which Mr. Chen’s past criminal conduct would be plainly relevant. Third, any sexual assault
14
     crimes are specifically relevant to GEO because it is subject to federal regulations under the
15
     Prison Rape Elimination Act that subject it to strict hiring requirements. Id. at 122-23.
16
17          The Court allowed the questions. Id. at 126-27. Soon after the deposition, Mr. Chen’s
18
     counsel informed GEO that they were cancelling the scheduled depositions of Mr. Chen’s family
19
     members and recommending that Mr. Chen and his family retain criminal defense counsel. GEO
20
21   filed its own pending motion to deny class certification, and Mr. Chen now seeks not only relief
22
     from his deadline to respond to that motion but also relief from the now-past joinder and class
23
     certification deadlines. See generally, Mot.
24
25                                        LEGAL ARGUMENT
26
     A.     Legal Standard
27
            When a party seeks relief from a deadline that has already passed, that party must show
28
29   good cause. Fed. R. Civ. P. 16(b)(4). To do so, the movant must show that a deadline could not
30
     “reasonably be met despite the diligence of the party seeking the extension.”            Johnson v.
31
32                                                                                     III BRANCHES LAW, PLLC
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 1   Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992); see also Lamberth v. Clark Cty.
 2
     Sch. Dist., 698 F. App’x 387, 389 (9th Cir. 2017). If the movant was not diligent, the inquiry
 3
     ends. Johnson, 975 F.2d at 609; see also Branch Banking & Trust Co. v. D.M.S.I., LLC, 871
 4
 5   F.3d 751, 764-65 (9th Cir. 2017). Prejudice to the nonmovant can “supply additional reasons to
 6
     deny a motion.” Johnson, 975 F.2d at 609.
 7
            A class representative is not diligent if he had knowledge of disqualifying information
 8
 9   before the joinder deadline had passed. For example, in Wilson v. Frito-Lay North America,
10
     Inc., No. 12-cv-01586, 2017 WL 3478776 (N.D. Cal. Aug. 14, 2017), appeal filed, (Sept. 11,
11
     2017), the district court denied a motion to add proper representative plaintiffs when the current
12
13   class representatives admitted during their deposition that they could not establish at least one
14
     element of their class claim. Id. at *2-3. As the court explained, “[t]he deposition testimony of
15
     the named plaintiffs made it plain that [the defendant’s allegedly misleading] labels played no
16
17   part in their purchase decisions, and had Plaintiffs’ counsel inquired of their clients before
18
     filing suit, they would have discovered that fact.” Id. at *3 (emphasis added). And as another
19
     court has explained, when a party “knows or is in possession of the information that form[s] the
20
21   basis of the later motion to amend at the outset of litigation, the party is presumptively not
22
     diligent.” Hildebrand v. Dentsply Int’l, Inc., 264 F.R.D. 192, 198 (E.D. Pa. 2010). See also,
23
     Osakan v. Apple Am. Grp., No. C 08-4722, 2010 WL 1838701, *3-4 (N.D. Cal. May 5, 2010)
24
25   (denying motion to add proper class representatives when named plaintiff was on notice of his
26
     likely inadequacy from defendant’s filings in the case).
27
            Similarly, a party that had reason to add class representatives before a deadline but chose
28
29   not to do so is not diligent. Courts have denied a motion to add class representatives when the
30
     current representatives had notice of the defendant’s positions and failed to prepare accordingly.
31
32                                                                                   III BRANCHES LAW, PLLC
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 1   Jankanish v. First Am. Title Ins. Co., No. C08-1147MJP, 2009 WL 1919117, at *2-3 (W.D.
 2
     Wash. July 2, 2009). In Jankanish, the class representatives sought to add class plaintiffs after
 3
     the district court ruled that some of their claims were time-barred. Id. at *1. The plaintiffs were
 4
 5   not diligent because they had “fail[ed] to prepare for the possibility that [the d]efendants might
 6
     prevail on their motion to dismiss,” even though the dismissal order was made only a few days
 7
     before the joinder deadline. Id. at *3. See also Mansourian v. Bd. of Regents, No. CIV. S-03-
 8
 9   2591, 2007 WL 841739 (E.D. Cal. Mar. 20, 2007) (plaintiffs not diligent when failing to timely
10
     join appropriate plaintiffs with knowledge that their own claims would become moot).
11
     B.       Mr. Chen and His Counsel Were Not Diligent
12
13            Mr. Chen and his counsel cannot show diligence because the facts disclosed at his
14
     deposition were, by definition, known to him, and should have been known to his attorneys
15
     before they sued GEO. Mr. Chen argues only that he acted “diligently” because he moved to
16
17   modify the scheduling order “within days of his deposition.” Mot. 4. GEO discovered in a few
18
     hours at a deposition what Mr. Chen himself has known for years, and what his attorneys should
19
     have known long before filing a class action lawsuit in this Court. Consider some of the facts
20
21   revealed in deposition, which also would have been discussed in any real prospective GEO-
22
     employee hiring:
23
          •   Mr. Chen has never held a job for more than 11 months at any time in his life;
24
25        •   Mr. Chen has no disabilities that prevent him from working but has nonetheless been
26
              unemployed for almost his entire life;
27
          •   Mr. Chen’s sister works for the State agency through which he gets public benefits, and
28
29            advised him how to get other public benefits;
30
          •   Mr. Chen was a habitual gambler for over a decade before his conviction and
31
32                                                                                    III BRANCHES LAW, PLLC
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 1          incarceration and is a habitual gambler now;
 2
        •   Mr. Chen gets money from his sister to fund his gambling—the same sister that helped
 3
            him get public benefits;
 4
 5      •   Mr. Chen has not reported any of his gambling or other income to any State benefits
 6
            agency or, apparently, reported them on a tax return.
 7
     Mr. Chen would not deny:
 8
 9      •   that he had ever hurt a minor,
10
        •   that he had ever sexually assaulted a minor,
11
        •   that he had ever assaulted his family,
12
13      •   that he had ever assaulted anyone else,
14
        •   that he had ever fired a gun at anyone other than his known victims,
15
        •   or even that he had ever threatened anyone else with a weapon.
16
17   Instead, he invoked his Fifth Amendment right against self-incrimination in a criminal
18
     proceeding.
19
            Mr. Chen’s deposition testimony not only raises troubling questions, it also undercuts any
20
21   claim that he has acted diligently in response to some surprising new information. See Johnson,
22
     975 F.2d at 609-10 (prior notice undercut diligence); see also Wilson, 2017 WL 3478776, at *3;
23
     Hildebrand, 264 F.R.D. at 198-99. Mr. Chen is still the only party to this case who knows the
24
25   answers to all of the questions he declined to answer by invoking the Fifth Amendment. Any
26
     surprise he had from GEO’s questions can only be attributed to his lack of candor or his own
27
     counsel’s failure to prepare him for his deposition. See Wilson, 2017 WL 3478776, at *3
28
29   (finding no diligence when attorneys failed to ask relevant questions at appropriate times).
30
            Further, GEO’s questions should not have been surprising. Mr. Chen variously refers to
31
32                                                                                    III BRANCHES LAW, PLLC
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 1   GEO’s questions as “aggressive[] question[s]” about “matters from his past,” Mot., 1,
 2
     “repeated[] question[s]” about “other irrelevant subjects,” Mot. 2, and “a difficult line of
 3
     questioning that challenged his adequacy to serve as a class representative,” Mot. 4. But Mr.
 4
 5   Chen cannot reasonably claim that any of GEO’s questions were unexpected, since his
 6
     employability is essential to his claim that he was an “employee” when he was detained at
 7
     NWDC. His answers are relevant to how he would fare as a class representative. Chen Depo. at
 8
 9   126 (“The answer to this whole thing lies, in part, on your judge’s view of the class
10
     representative and what that entails and what that person is responsible for.”). And Mr. Chen has
11
     been on notice from GEO’s filings in this case that GEO considers his employability under both
12
13   federal law and its contract to be a critical aspect of his claim. Mot. to Dismiss, ECF 8, 11-16;
14
     Reply, ECF 16, 5-7; Answer, ECF 33, ¶¶ 4.10, 8.7, 12.4, 12.7, Rule 19 Mot., ECF 51, 8-9; Rule
15
     19 Reply, ECF 64, 4-7. Consequently, any claim that Mr. Chen was somehow surprised by
16
17   GEO’s questions relating to his criminal past are unreasonable. See Osakan, 2010 WL 1838701,
18
     at *3-4. And any claim that his lawyers were surprised by his answers arises from their own
19
     carelessness and lack of diligence regarding their client. Carelessness and lack of diligence do
20
21   not amount to “good cause” to amend a scheduling order. Johnson, 975 F.2d at 609.
22
            Any employer would ask hard questions when deciding whether to employ someone with
23
     a history of violent crime who had recently been released from prison. But GEO’s questions also
24
25   address concerns identified in federal law and GEO’s contract with ICE. See, e.g., Rule 19
26
     Reply, ECF 64, 4-7. Sexual assault allegations against an employee, in particular, are directly
27
     relevant to GEO’s compliance with the Prison Rape Elimination Act. Chen Depo. at 123; see
28
29   also GEO’s Mot to Deny Class Certification, ECF 69, at 24 (citing 28 C.F.R. § 115.17). Finally,
30
     Mr. Chen cannot seriously argue that GEO’s questions were both irrelevant and sufficient to
31
32                                                                                  III BRANCHES LAW, PLLC
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 1   make him an inadequate plaintiff, see Mot. 4 (referring to a “difficult line of questioning that
 2
     challenged [Plaintiff’s] adequacy to serve as a class representative”); if they were irrelevant to
 3
     Mr. Chen’s adequacy as a class representative, then they gave him no reason to withdraw his
 4
 5   motion for class certification.
 6
            More broadly, Mr. Chen fails to explain how he was “diligent” to proceed as the lone
 7
     class representative, given his manifest inadequacy. He claims only that it was “not apparent to
 8
 9   [his] counsel that the addition of one or two or more named plaintiffs would serve the interests of
10
     efficient and economical litigation of the case.” Mot. 4; ECF 71, § 6. While Mr. Chen’s
11
     attorneys’ failures are addressed more fully below, proceeding with a single class representative
12
13   was facially unwise, as Mr. Chen could have become unavailable for any number of common-
14
     sense reasons. See Mansourian, 2007 WL 841739 (class representatives not diligent when they
15
     aged out of their own class); see also Osakan, 2010 WL 1838701, at *4 (“The burden of
16
17   preparing this case for trial is on Plaintiff.”). Indeed, Mr. Chen’s counsel now concede that they
18
     had already discussed the minimum wage claim with other possible representatives and elected
19
     not to join any of them prior to the Court’s joinder deadline. ECF 71, § 5.
20
21          In sum, Mr. Chen cannot reasonably contend that he is entitled to relief from this Court’s
22
     scheduling order. The deposition exposed no facts that Mr. Chen himself did not already know.
23
     Before filing and prosecuting his case, Mr. Chen’s counsel failed to ensure that they had a
24
25   plaintiff capable of serving as class representative, which includes failing to join additional
26
     plaintiffs. There is no good cause to extend the joinder or class certification deadlines.
27
     C.     Mr. Chen’s Other Arguments Fail
28
29          Mr. Chen’s counsel make two further arguments to try to avoid a mess of their own
30
     creation. First, they argue that this Court should dispense with its scheduling order and let them
31
32                                                                                      III BRANCHES LAW, PLLC
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 1   continue with a new plaintiff because they will simply file another action if it does not. Mot. 4-
 2
     5. Thus, they argue, holding them to the schedule that they have previously tried to enforce
 3
     against GEO would be inefficient because they will just try again. Were Mr. Chen or his counsel
 4
 5   truly concerned with judicial efficiency, however, they would have ensured that Mr. Chen was
 6
     suitable to bring this case or joined other plaintiffs before the joinder deadline passed.
 7
     Conversely, they should have litigated their class certification motion fully and then tried to
 8
 9   substitute a class representative in the event this Court granted that motion. Instead, Mr. Chen’s
10
     lawyers are now essentially threatening the Court with an unlimited number of do-overs to
11
     correct their own mistakes. This exposes the claim as the political move that it truly is.
12
13          Indeed, the deposition reveals not only that Mr. Chen’s is an inadequate class
14
     representative, but that his counsel are too. See Fed. R. Civ. P. 23(g) (requiring the court to
15
     consider “the work counsel has done in … investigating potential claims” and instructing that the
16
17   court “may consider any other matter pertinent to counsel’s ability to fairly and adequately
18
     represent the interest of the class”); see also Creative Montessori Learning Ctrs. v. Ashford Gear
19
     LLC, 662 F.3d 913 (7th Cir. 2011) (class certification vacated when class counsel’s decision to
20
21   proceed with class representative that likely had no claim gave reason to doubt counsel’s
22
     adequacy). They chose to file this class action claiming that detainees are employees. They
23
     chose when to file it. They chose Mr. Chen as their sole class representative. And they failed to
24
25   ask straightforward questions—at any time during or before filing this claim—about Mr. Chen’s
26
     past behavior affecting his suitability to act as a class representative. During GEO’s first
27
     exploration into the facts underlying their plaintiff’s claim, their lone plaintiff was reduced to
28
29   capitulation in a matter of hours.
30
            This situation also shows recklessness with respect to the interests of their current and
31
32                                                                                     III BRANCHES LAW, PLLC
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 1   intended clients. By failing to diligently investigate their own client, Mr. Chen’s counsel have
 2
     allowed information to “c[o]me to light” in a sworn deposition that “may or may not implicate
 3
     criminal jeopardy.” ECF 71, Ex. 1 at 216 (statement of Mr. Chen’s counsel). Those problems
 4
 5   stem directly from his counsel’s failure to ask relevant questions. Their recklessness may well
 6
     leave Mr. Chen in a worse position than he was in before filing suit. And by electing to proceed
 7
     with a compromised plaintiff as the sole representative for their putative class, they have
 8
 9   jeopardized the interests of their entire putative class, not just Mr. Chen himself. Thus, even if
10
     they have vigorously sought to damage GEO, they have apparently given little thought to the
11
     best interests of their own client or his putative class. Such concerns are not unknown in class
12
13   action litigation.   Lawrence W. Schonbrun, Why I Am Leaving... the Practice of Being a
14
     Plaintiff’s Class Action Lawyer (July 24, 2012) (https://www.huffingtonpost.com/lawrence-w-
15
     schonbrun/class-action-awsuits_b_1541017.html).
16
17          Mr. Chen’s attorneys’ argument that they can simply file another class claim ignores that
18
     class certification is not to be granted as a matter of course.       As the Supreme Court has
19
     explained, class actions are “an exception to the usual rule that litigation is conducted by and on
20
21   behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 334, 348
22
     (2011) (quotation omitted).      It has further described class claims for damages as an
23
     “adventuresome innovation … framed for situations in which class-action treatment is not as
24
25   clearly called for.” Id. at 362 (quotation omitted). For Mr. Chen or his attorneys to claim that
26
     they can simply file an unlimited number of other claims in this Court until they find just the
27
     right class representative ignores that they have not shown that any class can properly be
28
29   certified at all. Such certification is improper at least for all the reasons GEO has articulated in
30
     its pending motion to deny class certification. See generally, Mot. to Deny Class Cert., ECF 69.
31
32                                                                                     III BRANCHES LAW, PLLC
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 1          Second, Mr. Chen argues that GEO will not suffer any prejudice if his counsel are
 2
     allowed to ignore past deadlines and replace Mr. Chen with a less-compromised plaintiff. Mot.
 3
     5-6. But allowing Mr. Chen to drop out of his own case and let someone else take the reins will,
 4
 5   at least, prolong discovery and require GEO to depose more class representatives, increasing the
 6
     time and expense of litigation. And, as Mr. Chen himself previously argued, “adherence to the
 7
     order is very important to the settled expectations of the parties and the court.” Pl.’s Opp. to
 8
 9   GEO’s Mot. for Relief from Deadline, ECF 56, at 4-5 (quotation omitted).
10
            Further, the relief Mr. Chen seeks tends to show why GEO will, in fact, be prejudiced by
11
     substituting a new plaintiff. Mr. Chen does not seek to drop his claim against GEO, he seeks to
12
13   be only a beneficiary of someone else’s continued litigation. See Mot. 6, (noting that Mr. Chen
14
     would like to “revert to a putative class member as opposed to a class representative”). But Mr.
15
     Chen’s position exposes the grave problem with his class claim: GEO plainly cannot have
16
17   employed him—as it never intended to do and never, in fact, did—without raising numerous
18
     conflicts with federal law and with the terms of its contract with ICE. Mr. Chen’s claim does not
19
     become less problematic merely because he would prefer to assert it by proxy.
20
21          GEO has litigated this claim for months against Mr. Chen, and it has a pending motion to
22
     deny class certification for Mr. Chen’s claim.      It will plainly be prejudiced by any order
23
     replacing him with another plaintiff who likely carries similar baggage.
24
25                                           CONCLUSION
26
             Plaintiff’s Motion for Relief From Deadlines should be denied.
27
             Dated this 9th day of May, 2018 at Tucson, Arizona.
28
29           III Branches Law, PLLC
30           ________________________
31           Joan K. Mell, WSBA #21319
             Attorney for The GEO Group, Inc.
32                                                                                   III BRANCHES LAW, PLLC
                                                                                             Joan K. Mell
33    GEO’S OPPOSITION TO PLAINTIFF’S MOTION FOR RELIEF FROM DEADLINE
                                                                                      1019 Regents Blvd. Ste. 204
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34                                                                                         253-566-2510 ph
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 1
                                    CERTIFICATE OF SERVICE
 2
 3          I, Joseph Fonseca, hereby certify as follows:
 4          I am over the age of 18, a resident of Pierce County, and not a party to the above action.
 5   On May 9, 2018, I electronically filed the above GEO’s Opposition to Plaintiff’s Motion for
 6
     Relief from Deadline, with the Clerk of the Court using the CM/ECF system and served via
 7
     Email to the following:
 8
 9
10   Schroeter, Goldmark & Bender                           The Law Office of R. Andrew Free
11   Adam J. Berger, WSBA No. 20714                         Andrew Free
     Lindsay L. Halm, wSBA No. 37141                        P.O. Box 90568
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20
21   Norton Rose Fulbright US LLP
     Mark Emery (Pro Hac Vice)
22   799 9th St. NW, Suite 1000
23   Washington, DC 20001-4501
     (202)-662-0210
24   mark.emery@nortonrosefulbright.com
25
            I certify under penalty of perjury under the laws of the State of Washington that the
26
27   above information is true and correct.
28          DATED this 9th day of May, 2018 at Fircrest, Washington.
29
30
31          Joseph Fonseca, Paralegal
32                                                                                    III BRANCHES LAW, PLLC
                                                                                              Joan K. Mell
33    GEO’S OPPOSITION TO PLAINTIFF’S MOTION FOR RELIEF FROM DEADLINE
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